22-10943-mew   Doc 161-13    Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex.
                            L to Levitt Aff. Pg 1 of 13



                                EXHIBIT L
          22-10943-mew
7/23/22, 11:46 AM              Doc 161-13         Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 2 of 13

                                                                                Matthew Levitt <matthewjlevitt@gmail.com>



  Confirm your blockchain withdrawal
  1 message

  Voyager <info@investvoyager.com>                                                                          23 June 2022 at 13:53
  Reply-To: info@investvoyager.com
  To: matthewjlevitt@gmail.com




https://mail.google.com/mail/u/0/?ik=d84e057078&view=pt&search=all&permthid=thread-f%3A1736460298561193251&simpl=msg-f%3A1736460… 1/3
          22-10943-mew
7/23/22, 11:46 AM              Doc 161-13         Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 3 of 13
               Hi Matthew,



               Your blockchain withdrawal request placed on June 23, 2022 at 8:53 pm UTC is pending
               confirmation.



               Transaction ID: 01G695E1VC468NT7TXGFA17NC8
               Withdrawal Amount: 0.479496 BTC
               Withdrawal Address: bc1qu92688ty4e9rcj45gnfqeeyz7mwhxdmf96tpgh
               Fees: 0.0005 BTC




               Total: 0.479996 BTC



                                                       Confirm Withdrawal



                                                        Cancel Withdrawal



               This email will expire in 30 minutes. If not confirmed, the withdrawal request will be
               canceled. If this request was not made by you, change your password
               immediately and contact us.




               If you’re having trouble clicking the buttons, copy and paste the URLs below into your
               web browser:


               Confirm Withdrawal URL:

               https://www.investvoyager.com/verify_withdrawal/?transfer_
               id=01G695E1VC468NT7TXGFA17NC8&token=3d982f21b1ec528d4c004129e6b35a38




               Cancel Withdrawal URL:

               https://www.investvoyager.com/cancel_withdrawal/?transfer_
               id=01G695E1VC468NT7TXGFA17NC8&token=3d982f21b1ec528d4c004129e6b35a38




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          22-10943-mew
7/23/22, 11:46 AM              Doc 161-13         Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 4 of 13

               Questions?


               Have any questions or comments? We’d love to hear from you. Contact us at
               support@investvoyager.com.



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          22-10943-mew
7/23/22, 12:11 PM              Doc 161-13         Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 5 of 13

                                                                                Matthew Levitt <matthewjlevitt@gmail.com>



  Confirm your blockchain withdrawal
  1 message

  Voyager <info@investvoyager.com>                                                                          27 June 2022 at 13:21
  Reply-To: info@investvoyager.com
  To: matthewjlevitt@gmail.com




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          22-10943-mew
7/23/22, 12:11 PM              Doc 161-13         Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 6 of 13
               Hi Matthew,



               Your blockchain withdrawal request placed on June 27, 2022 at 8:21 pm UTC is pending
               confirmation.



               Transaction ID: 01G6KD7M3WRQQCKNVGK7Y44FS5
               Withdrawal Amount: 0.477 BTC
               Withdrawal Address: bc1qk6p39zq6cs4ymk50eekl7yv7y0mzmzxhe94n9u
               Fees: 0.0005 BTC




               Total: 0.4775 BTC



                                                       Confirm Withdrawal



                                                        Cancel Withdrawal



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               canceled. If this request was not made by you, change your password
               immediately and contact us.




               If you’re having trouble clicking the buttons, copy and paste the URLs below into your
               web browser:


               Confirm Withdrawal URL:

               https://www.investvoyager.com/verify_withdrawal/?transfer_
               id=01G6KD7M3WRQQCKNVGK7Y44FS5&token=ccdc571dec71a74212ae3873e6adb3
               23




               Cancel Withdrawal URL:

               https://www.investvoyager.com/cancel_withdrawal/?transfer_
               id=01G6KD7M3WRQQCKNVGK7Y44FS5&token=ccdc571dec71a74212ae3873e6adb3
               23




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          22-10943-mew
7/23/22, 12:11 PM              Doc 161-13         Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 7 of 13



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               Have any questions or comments? We’d love to hear from you. Contact us at
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          22-10943-mew
7/23/22, 12:12 PM              Doc 161-13         Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 8 of 13

                                                                                 Matthew Levitt <matthewjlevitt@gmail.com>



  Confirm your blockchain withdrawal
  1 message

  Voyager <info@investvoyager.com>                                                                          28 June 2022 at 14:10
  Reply-To: info@investvoyager.com
  To: matthewjlevitt@gmail.com




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          22-10943-mew
7/23/22, 12:12 PM               Doc 161-13        Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                 L to Levitt Aff. Pg 9 of 13
                Hi Matthew,



                Your blockchain withdrawal request placed on June 28, 2022 at 9:10 pm UTC is pending
                confirmation.



                Transaction ID: 01G6P2D083H3ZVF1PVCKQYT4TK
                Withdrawal Amount: 0.490591 BTC
                Withdrawal Address: bc1qnmss5058d38qvef8nksulrflkn4g8m9ak786h3
                Fees: 0.0005 BTC




                Total: 0.491091 BTC



                                                       Confirm Withdrawal



                                                        Cancel Withdrawal



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                canceled. If this request was not made by you, change your password
                immediately and contact us.




                If you’re having trouble clicking the buttons, copy and paste the URLs below into your
                web browser:


                Confirm Withdrawal URL:

                https://www.investvoyager.com/verify_withdrawal/?transfer_
                id=01G6P2D083H3ZVF1PVCKQYT4TK&token=df6b1e33dd7511e56e25d70b12d88186




                Cancel Withdrawal URL:

                https://www.investvoyager.com/cancel_withdrawal/?transfer_
                id=01G6P2D083H3ZVF1PVCKQYT4TK&token=df6b1e33dd7511e56e25d70b12d88186




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          22-10943-mew
7/23/22, 12:12 PM              Doc 161-13        Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                L to Levitt Aff. Pg 10 of 13

                Questions?


                Have any questions or comments? We’d love to hear from you. Contact us at
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          22-10943-mew
7/23/22, 12:13 PM              Doc 161-13        Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                L to Levitt Aff. Pg 11 of 13

                                                                                 Matthew Levitt <matthewjlevitt@gmail.com>



  Confirm your blockchain withdrawal
  1 message

  Voyager <info@investvoyager.com>                                                                          29 June 2022 at 15:51
  Reply-To: info@investvoyager.com
  To: matthewjlevitt@gmail.com




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          22-10943-mew
7/23/22, 12:13 PM              Doc 161-13        Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                L to Levitt Aff. Pg 12 of 13
                Hi Matthew,



                Your blockchain withdrawal request placed on June 29, 2022 at 10:51 pm UTC is
                pending confirmation.



                Transaction ID: 01G6RTJFF1WCAZ33ZG92XX6HNV
                Withdrawal Amount: 0.495 BTC
                Withdrawal Address: bc1qrtw4pm63yzrmuxcht47vgjxupvg6pkjhtdlg7h
                Fees: 0.0005 BTC




                Total: 0.4955 BTC



                                                       Confirm Withdrawal



                                                        Cancel Withdrawal



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                canceled. If this request was not made by you, change your password
                immediately and contact us.




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                Confirm Withdrawal URL:

                https://www.investvoyager.com/verify_withdrawal/?transfer_
                id=01G6RTJFF1WCAZ33ZG92XX6HNV&token=182a6d518f998d946f6cb5ee8670f610




                Cancel Withdrawal URL:

                https://www.investvoyager.com/cancel_withdrawal/?transfer_
                id=01G6RTJFF1WCAZ33ZG92XX6HNV&token=182a6d518f998d946f6cb5ee8670f610




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          22-10943-mew
7/23/22, 12:13 PM              Doc 161-13        Filed 07/28/22
                                                         Gmail - ConfirmEntered     07/28/22
                                                                         your blockchain         15:51:49
                                                                                         withdrawal           Exhibit Ex.
                                                L to Levitt Aff. Pg 13 of 13

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